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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

RRF BUILDING, LLC, and SOPHIE
MARIE LONGFORD,

                            Plaintiff                           Civil Action No. 1:23-CV-0341

             v.

EXCEL DEVELOPMENT GROUP,                                        Electronically Filed
NETANEL INVEST USA, INC., and
MICHAEL HELETZ,

                            Defendant

                          MOTION TO WITHDRAW AS COUNSEL

         Joshua L. Schwartz, Esquire, Justin Tomevi, Esquire, and Barley Snyder, LLP

hereby move to withdraw as counsel in the above-captioned matter pursuant to

Local Rule 83.15 and the Pennsylvania Rules of Professional Conduct, as adopted

under Local Rule 83.23.2.1

         Undersigned counsel first notified Defendants of the intention to withdraw,

unless certain obligations were met, on November 10, 2023. A final communication




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  Specifically, counsel seeks withdrawal under Professional Conduct Rules 1.16(b)(4) (“[A] lawyer may withdraw
from representing a client if . . . the client insists upon taking action that the lawyer considers repugnant or with
which the lawyer has a fundamental disagreement”) and 1.16(b)(5) (under which withdrawal is appropriate when
“the client fails substantially to fulfill an obligation to the lawyer regarding the lawyer’s services and has been given
reasonable warning that the lawyer will withdraw unless the obligation is fulfilled). Counsel is not providing further
detail at this time so as to protect the client’s rights to confidentiality, pursuant to Rule of Professional Conduct 1.6.
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was sent February 1, listing February 8 as the final deadline for Defendants to meet

their obligations to counsel and avoid withdrawal.

         As case management deadlines have been stayed, withdrawal will not

materially prejudice the Defendants or unduly delay the litigation. Plaintiff’s counsel

has indicated that they have no objection to the Motion. Defendants have indicated

that they do oppose this Motion.

         WHEREFORE Joshua L. Schwartz, Esquire, Justin Tomevi, Esquire, and

Barley Snyder, LLP, respectfully request that they be permitted to withdraw as

counsel for Defendants Excel Development Group, Netanel Invest USA, Inc., and

Michael Heletz, and these defendants shall be permitted to retain new counsel.




                                   Respectfully submitted,

                                   BARLEY SNYDER

                                         /s/ Joshua L. Schwartz
                                          Joshua L. Schwartz, Esquire
                                          Attorney I.D. #308189
                                          jschwartz@barley.com
                                          Justin Tomevi, Esquire
                                          Attorney I.D. # 313661
                                          jtomevi@barley.com
                                          100 East Market Street
                                          York, PA 17401
                                          Telephone (717) 846-8888

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                           CERTIFICATE OF SERVICE

         I hereby certify that this Motion to Withdraw was filed electronically and is

available for viewing and downloading on the Court’s CM/ECF system this 12th

day of February, 2024.

         In addition, a copy of this Motion was sent via email and mail to Defendants

as follows:

         c/o Michael Heletz
         116-55 Queens Boulevard, Suite 206
         Forest Hills, NY 11375
         heletz@exceldevgroup.com




                                   BARLEY SNYDER

                                         /s/ Joshua L. Schwartz
                                          Joshua L. Schwartz, Esquire
                                          Attorney I.D. #308189
                                          Attorneys for Defendants Excel
                                          Development Group, Netanel Invest USA,
                                          Inc., and Michael Heletz




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             CERTIFICATE OF CONCURRENCE/NONCONCURRENCE

         I, Joshua L. Schwartz, Esquire, hereby certify that I contacted Plaintiffs’

attorney, Stephen R. McDonald, Esquire, and he indicated that Plaintiffs do not

object to this Motion.

         I also contacted Defendants, through Defendant Michael Heletz, and he

indicated that he does not concur in this Motion.




                                   BARLEY SNYDER

                                          /s/ Joshua L. Schwartz
                                           Joshua L. Schwartz, Esquire
                                           Attorney I.D. #308189
                                           100 East Market Street
                                           York, PA 17401
                                           Telephone (717) 846-8888
                                           Attorneys for Defendants Excel
                                           Development Group, Netanel Invest USA,
                                           Inc., and Michael Heletz




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